           Case 1:21-cr-00184-TLN-BAM Document 111 Filed 02/22/22 Page 1 of 4

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 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 1:21-CR-00184-DAD-BAM
11
                                  Plaintiff,              STIPULATION BETWEEN THE PARTIES
12                                                        REGARDING PROTECTED INFORMATION
                  v.
13
     TONISHA BROWN,
14
                                  Defendant.
15

16

17          WHEREAS, the discovery in this case contains a large amount of personal information including

18 Social Security numbers, personal identification numbers, dates of birth, financial account numbers,

19 telephone numbers, and residential addresses (“Protected Information”); and

20          WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the

21 unauthorized disclosure or dissemination of this information to anyone not a party to the court

22 proceedings in this matter;

23          The parties agree that entry of a stipulated protective order is appropriate.

24          THEREFORE, the defendant TONISHA BROWN, by and through her counsel of record

25 (“Defense Counsel”), and plaintiff the UNITED STATES, by and through its counsel of record, hereby

26 agree and stipulate as follows:
27          1.     This Court may enter a protective order pursuant to Rule 16(d) of the Federal Rules of

28 Criminal Procedure and its general supervisory authority;


      STIPULATION AND ORDER                               1
30
           Case 1:21-cr-00184-TLN-BAM Document 111 Filed 02/22/22 Page 2 of 4

 1          2.      This Order pertains to all discovery provided to or made available to Defense Counsel as

 2 part of discovery in this case (hereafter, collectively known as “the discovery”);

 3          3.      By signing this Stipulation, Defense Counsel agrees not to share any documents that

 4 contain Protected Information with anyone other than Defense Counsel and designated defense

 5 investigators and support staff. Defense Counsel may permit the defendant to view unredacted

 6 documents in the presence of her attorney, defense investigators, and support staff. The parties agree

 7 that Defense Counsel, defense investigators, and support staff shall not allow the defendant to copy

 8 Protected Information contained in the discovery. The parties agree that Defense Counsel, defense

 9 investigators, and support staff may provide the defendant with copies of documents from which

10 Protected Information has been redacted;

11          4.      The discovery and information therein may be used only in connection with the litigation

12 of this case including exhaustion of direct and collateral appellate proceedings and for no other purpose.

13 The discovery is now and will forever remain the property of the Government. Defense Counsel will

14 return the discovery to the Government or certify that it has been destroyed at the conclusion of the case

15 including exhaustion of direct and collateral appellate proceedings;

16          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

17 ensure that it is not disclosed to third persons in violation of this agreement;

18          6.      Defense Counsel shall be responsible for advising the defendant, as well as Defense

19 Counsel’s employees, other members of the defense team, and defense witnesses, of the contents of this

20 Stipulation and Order; and

21          7.      In the event that the defendant substitutes counsel, undersigned Defense Counsel agrees

22 to withhold discovery from any new counsel unless and until substituted counsel agrees also to be bound

23 by this Stipulation and Order.

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      STIPULATION AND ORDER                               2
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       Case 1:21-cr-00184-TLN-BAM Document 111 Filed 02/22/22 Page 3 of 4

 1      IT IS SO STIPULATED.

 2

 3 DATED:    February 17, 2022

 4

 5                                        /s/ Darryl E. Young
                                          DARRYL E. YOUNG
 6                                        COUNSEL FOR TONISHA BROWN
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 8
                                          /s/ Joseph Barton
 9                                        JOSEPH BARTON
                                          ASSISTANT UNITED STATES ATTORNEY
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     STIPULATION AND ORDER                3
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          Case 1:21-cr-00184-TLN-BAM Document 111 Filed 02/22/22 Page 4 of 4

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 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                       CASE NO. 1:21-CR-00184-DAD-BAM
11
                                Plaintiff,           PROTECTIVE ORDER BETWEEN THE
12                                                   PARTIES REGARDING PROTECTED
                          v.                         INFORMATION
13
     TONISHA BROWN,
14
                               Defendant.
15

16

17                                                ORDER
18         For good cause shown, the stipulation between counsel dated February 17, 2022, in Case No.
19
     1:21-cr-00184-DAD-BAM, regarding discovery and treatment of Protected Information is approved.
20

21
     IT IS SO ORDERED.
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23      Dated:    February 22, 2022                       /s/ Barbara A. McAuliffe            _
24                                                 UNITED STATES MAGISTRATE JUDGE

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      STIPULATION AND ORDER                          4
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